          Case 2:09-cr-20026-PKH                                  Document 139                         Filed 02/23/10                         Page 1 of 6 PageID #: 306
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                             JudBmcnt
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                              WHSTERN                                                   Distliotof                                               ARKANSAS
             UNITI,D S'I'ATESOF AMERICI                                                            JUDGMENT IN A CRIMINAL CASE
                                      Y.

                          CLIIONISDEAN                                                             CascNumber:                                   2:09CR?00?6-00l
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                                                                                                  JamesB. Pierce
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THE DIIIFENDANI'r
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! plcadcdnolo contcndereto count(s)
  which was acceptcdby lhe courl.
! wa.rfound guilly on count(s)
   aftera pleaofnotguilty.

Thedelcndant            guihyof theseoffenses:
           is ndjudicated

Titlc & Section                            Nsturnof offenre                                                                                      (JffenseEndctl    Count

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      I'he del'cndant           asprovidedin pages2 through
                     is sentenocd                                       ofthisjudgmcnt. The sertenccis inposedwilhin thc
statutoryrfinge nd the U,S.Sentcncing
                                    Cuidelincswereconsidcrcdasadvisory.

E The defendanthasbeenfound not guilry on cdunt(s)

X C$ur\(s)              Two (?),'Ihrcc(3) and I'our(4)                     D is         X are dismissrrlon the Drotior)
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        It is ordercdthatthe deferldflntnrustnorif! thc tJnitedStfltesflttolneyfor this district withifl l0 davsof any cltittrgcof narne,tesidertcc,
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DE.FT,NDAN'I':               T]LEONISD[AN
C A S TN
       . IJMBF]R:            ?:09CR20026-001


                                                          IMPRISONMENT

       Thc dclcndantis herebycornrnittedtrl thc custodyoflhe [JnitedStlltesBurcau(]fPrisonsto be inrprisonedlor a
totaltenn of:     one hundredeight (108)nlo thg




  X    Thc court nrakesthe following rccommcrrdations
                                                    to the lluruilu ol'Prisons:
       l:lvaluationlbr placementin a $uhstdnceabusetreatrnentprograr .




  X    Thc defendantis rcnlflfldedto thc custodvofthe United StrtesMarshal.

  n    The defendantshall surrcndcrto the tJnitedStfltesMarshallilr this districtl

       trat                                       n a.m. E p.rn. on
       tr     asnotified by the United StfltcsMarshal.

                  shdl surrcndcrlbl seruiceofsentenocat thc institutiondesignfited
       The defendant                                                             by thc Burcauol Prisons:

              before I p.rn.on

       n      as notifled by the Ufliied StfltcsMaFhal.

       !      ns notitlcd by the Probatior)or Ptdtrial ScrvicesOlllce.



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                           nsfollows:




              delivcrcdon
       Defendnnt

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           Case 2:09-cr-20026-PKH
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              Shccl I  SupervisEdRclEillc
                                                                                                         Juderncnll'nee     J     ol       6
 DEFENDANT:                   Ct.EONISI-)F;AN
 CASENUMBER:                  2:09CR20026-001
                                                          SUPERVI$EDREI,NASE
 LJponrelease                thc dcfcndantshallbe orrsupervised
            frornirnprisonment,                               release
                                                                    for a tennol;                     three (3) yenrs




       The defendantnruslJepoftto the prdbfltionollicc irr the district to whiclt the defelldflntis releflscdwithin 72 hoursol'rclcasclmm thc
 custodyol'theBurcauof Prisons.
 'lhe
      defendrntshallnot crlmmitcnothcrI'cdcral. stateor localcrime,
Thc dcl-cndantshallnot unlawfullvDossess    fl cd ttdllcdsLLb$tHncc.   The defendant sltallrefrainfftnl anv rrnlawfuluseofd corrtr'lllEd
substtncc. Thc dcf'cndantshall subririt to one drug testw ithirl I 5 daysof rclcasclionr inrDrisonnrent aril at leasttwo periodic dnrg tests
therEafter,dsdetermincdby thc courl-
     'l
!       he abovedrugtestiflgconditionis suspcnded,    hasedon the court'sdete r)in0tio thrrtthc dcllndantposcsa low risk of
     futuresubstance abuse.(Check,if npplicabl0.)
 X        Thc dclcndantshallnot possess
                                      a firenrnt,anrtnunition,
                                                            ddstruotivc                         weapon.(Check,ifapplicable.)
                                                                      dcvice,orany otherdangerous

 X        Thc dcJ-cndant           in lhe collectiortdl'DNA asdircotcdby the plobationofficel. ((:heck,ifapplicable,)
                      shallcooperate

 n        I he defendrrntshall rcgistcrwith the statesex olTenderregistntiod dgencyin thc statcwhcrc thc defendantresides,works, or is a
                  asdircctcdby thc prnbationofficer- ((.:heck,
          strrdenl,                                            if applicnble,)
 n        The defendant
                     shallpanicipatein rrnapprovcrlprogranrfor donrestic
                                                                       violence.([]heck,ifapplicable,.l

 _  Ii'lhisjudgmcntimposes  a fine or restitution,
                                                 it is s cdnditionol'supcrviscd                      pay in accordatce
                                                                              rclcasethatthe det-endant              with the
 Schedule           slicctof thisjudgrnent.
         of Pnyrnents

     _ Thc dcf'cDdant
                   nrustcomplywith the sta[drrrdco ditidnsthathavcbccnadoptedby this coun aswe]l aswith anyadditionalconditions
 on thc dttachcdpage,

                                         STANDARD CONDI'I'IONIJOF STIPERVISION
     l)    thc defcndant
                       shallnot leavethe.jttdicildistiict withoutthc pcnnission
                                                                              ofthe courtor probationofficeri
     2)    thcdclcnd_ant
                       shallrepoltto the probationofficeranrlshallsubnrita truthfulandcompletewlittenrepodwithinthe first five daysof
           etrchmonLh;
     3)                shallanswcrtruthlullyall inquiliesby the prcbntionoflicerand follow the irrstructions
           the delendnnt                                                                                  of thc probntionolliccr;
     4)                shallsupporthis or her dependents
           fie delerldant                             andnleetotherfarrily responsibilities;
     5)    thc i|:fcndant shall work regulally at a lawful occupntion,unlesscxcusedby thc prohationolllccr lirr schooling,training, or other
           acrcDtablcrcan('r'rs:
     6)               shallnotit-vthc prohationofficerat leasttendrrysprior to nny chrrngcin rcsidcnccor cmploymcnt,
           thedcft:ndant
     7)    the defer)dfir shsllrefrainfrom cxccssivcr.rsc
                                                        ofalcoholandshallno lurchase.Dossess.use.distibute.or ndntirtister
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           controlledsubstance  or any paraphernalia                               eicept as prescribed
                                                   relntedtu anycontrollcdsubstances.                  hy a physician;
     8)    thc dct-endant
                       5hallnot frequentplaceswherecontrolledsubstdncc$                                or administercd;
                                                                     drc illcgallysold,uscd,distributcd,
     9)    thcdclcndant5hallnot associatewith any persons  erlgnged                                       with any personconvicted
                                                                   in criminnlactivityandshallnot associate                      ofa
           feltny, unlcssgrantcdpcnnissionto do io by the probaiionofficer:
  l0)      the defendnntshallpermita probationofllcel to visit hinr or her at any time at horneor elservhereand shallperrnitconfiscntjonof any
           contlabandobserve'din plairi vicw ol'thc pnrbationoflicer;
  1I )     the defendrtntshrll notify thc probatiorrolllcel with in sevenry-twohours of treilgtaffesteddr qLrestioncd
                                                                                                                    by a law cnI'orccnrcnt
                                                                                                                                         olliccr;
  l2)      thc dcfcndantshall not enter into iu)y agreernentto rrct as Hninlirmrcr or a spccialagcnt of a law errfbrcenrent
                                                                                                                          agencywithout the
           DCmUssr(nrot thc coun: and
  II )     asdilectedbv thetrobntionoflicer.thedefendant   shallnotitVthird Dartics of risksthatmav beoccasion ed bv thedefend  ant's*inr inal
           rccord or Dci:onal history or characreristicsnnd shall oerririrthc}robution ofliccr to riakc such notiticitions and to confirnr the
           dcfcndant'scomplianceriith such notilication requirernbnt,
       Case 2:09-cr-20026-PKH                            Document 139            Filed 02/23/10            Page 4 of 6 PageID #: 309
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C A S I ]N U M B E R :          2:09C]R20026-001

                                               SPECIAI, CONI}ITIONS O}' ST]PERVISTON


           1.          Thc dcfe$dffrt shall submit his L)('rson-residence.placc of errrLr)oytrlcnt.and vehicle ld o lcflrch condouecj br thc ln n treo
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                       violfllion ofany cdndition ofsuperviscd Iclease,lh€ dclcDdantshall wam LLnyolher residcnLs           that fheir prenriscsnray hc
                       $ubject to seflrih pursuant xo this coDdition, Iroilurc to suh|l]il,l,o n scarch nrai be ground$ for revoddtiori.

           2.                      rothe mrndatory d,ug l$tinF requirerhcnts,
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DIFF.NDANT:                            C I , E O N I St ] H A N
CASF]NUMB[,R:                          2i09CR]002S-001
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      The defendant                               penaltiEs              of payrhcrtson Sheel6.
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      The defcndant                                         rcstitution)               payeesirrtheamountlistetlbclow.
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      bcforethe Llnrtcd.Stafes
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Nrmc oI Pavre                                         Total Loss*                         RcstitutjonOrdtred                   Priority 0r PelcflrftrEc




TOTALS


 ft    Rcstitutionsfiount orderedpursuantto plca agreentent $

 !     The defendantmust ptly inlcrcstoI testilutionand n finc of nrrrrethnd $2,500,unlessthc restitutiot)ur fiDc is paid in lirll bef'orethe
       tifteenthday afterthe dstc ofthejudgNcnt, pursunrrtto I8 Ll,S.C.g 36I?(1). All olthe payrnrntoptionsoD Shett6 maybe subjtct
       to penalties
                  for delinqucncy  anddcl'ault,pufsuEttrt
                                                       kr I I Ll,S.C.$ 36 | ?(g).

       I hc court detefilincd that the defcndantdoesnot havetlte ability to pay irltcrcsiand it is drdcredthat:

       X     the i tercctrequiremedt
                                  is waivedfor thc                   !       finc   X   restitution.

       n                           for the
             thc interestrequircnrcnt                     n   fine       n     restitutionis nrodifiedss lbllows:



 * Findii)gstor thetotalatnountof lossesarcrcquiredrndcr(lhapters109A,I10, Il0A,undIl3AoflitlcIEtbloffettsc$c(r                          nittedoildrallcr
 SeplerhblrI 3, 1994,but heforeApril 23, 1996.
          Case 2:09-cr-20026-PKH                    Document 139           Filed 02/23/10          Page 6 of 6 PageID #: 311
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I]F]FF]NI)ANT:              CLEONISI)F]NN
C N$ F :N L J M B E R :     2:09CR20026-001

                                                     SCHI]DUI,E OF PAYMENTS

            thedefendant's
Hnvingasscssed          ability to pay,paynrentofthe totalcrinrinnlfironctHry
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H    n       Pflymefitlo bcgin irnnrcdiately(nray heconrbined
                                                           with          n C,       n D, or     ! I) bclow);or
C    !       PnyfiIdrttin cqual                 (c.g.,wcekly,rnonthly,qu$rterly)installmcnts
                                                                                           of $                    o!er a Perioddf
                            (e,g.,monthsor ycars),to comrnelrce_(".g.,30            or60 days)nftertlle dflteofthisjudgmcnt,or

     n       Paymentin equfll                 (e.9.,weckly,Nonthly,quanerly)inst{lllnrents
                                                                                         df $                    overa periodof
                          (c.9.,monthsor years),to colnr encc _        (.e,8,,
                                                                             :]0 or 60 dnys)trllcrrclcasclionr inrprisonrnent
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             tertt ofsupcrvisionlor

     n PsymcntduriDgthetermof supervisedrclcascwill corrrmerrce
                                                             within _                 (e.g.,30 or 60 days)atlerrelense  frottr
                         The courtwill sct thc paynrentplanbasedon rrnmscssmcnt
             imprisonnrent,                                                  ofthe defendant'sabilityto payat thflllirrro;or

     X                         rcgdrdingthe payrn€rrt
             Speciolinstrrtctions                  of uirninnlmonctarypenalties:

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Tle defendantshnll receivccrcdit l-orall paymentspreviouslynadc toward any crirninul monetarypcnalticsimposert.




I    JointandSeveral

     Dcl'cndant andCo"Defendsnt  Nflrnesrnd CascNunrbers(includingdefendant
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                      pflycc,il appropriate,
     and cr,rnrsponding




     'I
tr        hc dcltndant shall pay the cost of prusedution.
     'l
fl                  shallpaythe followingcourtcdsl(s):
          he defendant

n The defendantshall fort'citthe defendant'sinteresti thc folkrwing propertyto the United Stfltes:


                                        oqder:( l) nssessmcnt.
P$yllentssh$llbc applicdin the t-ollowing                                   principal,(J) restitution.intercst,
                                                              (2) restitution                               (4) finc principal,
(.5)fine interest,
                (6)tbmmunityrcstitutio[ (7) perialties,
                                                      nnd(8) clsts. includingcostbf brosecution  nndcourtcostJ.
